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IN THE UNITED STATES DISTRICT COURT

ath FOR THE NORTHERN DISTRICT OF TEXAS a
| oO re DALLAS DIVISION ! | SEP. 8 2003
ORIX CAPITAL MARKETS, LLC, § ! See pes aa
§ [oo
Plaintiff, §
§ CIVIL ACTION NO.
VS. §
§ 3:02-CV-2212-K
UBS WARBURG, INC., et al., §
§
Defendants. §

ORDER

On May 28, 2003, this Court entered an order granting Plaintiff's motion to
dismiss, which instructed gt Zo, to dismissing this class action must be
filed no later than July 7, 2003. Because no objection has been received, this case is
hereby DISMISSED without prejudice.

SO ORDERED.

September “2, 2003.

ED KINI
UNITED STATES DISTRICT JUDGE
